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 9
                                  UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11

12
     IN RE META PIXEL TAX FILING CASES                     Master File No. 5:22-cv-07557-PCP
13

14   This document relates to:                             STIPULATION AND [PROPOSED]
                                                           ORDER TO MODIFY CLASS
15   All actions                                           CERTIFICATION BRIEFING
                                                           DEADLINES
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                                                           [L.R. 6-2]
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     STIPULATION TO MODIFY CLASS CERT. DEADLINES; CASE NO. 5:22-CV-07557-PCP
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 1            The parties jointly ask the Court for a four-week extension of the deadline for Plaintiffs’
 2   motion for class certification, from July 21, 2025 to August 18, 2025. The parties make this
 3   request because the deposition of Meta’s 30(b)(6) witness had been scheduled for June 13, 2025,
 4   which would have occurred sufficiently in advance of the class certification deadline. However, on
 5   June 6, 2025, counsel for Meta represented that the prepared deponent was no longer available on
 6   June 13, 2025, due to a bereavement requiring travel out of the country for an indefinite period, and
 7   that Meta’s most suitable alternative 30(b)(6) deponent was out of the country the week of June
 8   9th, returning June 16, 2025. Counsel have met and conferred and have agreed to reschedule the
 9   30(b)(6) deposition for July 14, 2025, the soonest available alternative date for Meta’s alternative
10   witness.
11            To avoid prejudice to Plaintiffs from the change in dates, the parties have agreed, subject to
12   approval by the Court, to alter the class certification deadlines as follows:
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      Event                                           Current Deadline           Proposed New Deadline
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      Plaintiffs’ Motion for Class Certification      July 21, 2025              August 18, 2025
15
      Meta’s Opposition to Class Certification        September 29, 2025         October 27, 2025
16
      Plaintiffs’ Reply Brief                         November 17, 2025          December 15, 2025
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              There was one prior request to alter the class certification, which the Court granted. See ECF
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     No. 156. There is compelling good cause for this request because, as Meta represents, it is the result
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     of unforeseen, extenuating circumstances, which arose through no fault of either party, and the
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     parties have promptly sought relief from the Court. In addition, the requested extension is brief, and
21
     corresponds to the amount of time lost due to the deposition scheduling issue (i.e., approximately
22
     four weeks).
23
              The Court has not set any deadlines other than for class certification briefing, and so granting
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     this request will have no other effect on the schedule for the case. Accordingly, the parties jointly
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     ask the Court to modify the current deadlines according to the new dates set forth above.
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 1                                CIVIL L.R. 5-1(i)(3) ATTESTATION
 2            Pursuant to Civil Local Rule 5-1(i)(3), I hereby attest under penalty of perjury that
 3   concurrence in the filing of this document has been obtained from all signatories.
 4   Dated: June 20, 2025                                        By: /s/ Joel Smith
 5

 6

 7                                        [PROPOSED] ORDER
 8   PURSUANT TO STIPULATION, IT IS SO ORDERED
 9
     Dated:
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                                                         Hon. P. Casey Pitts
11                                                       U.S. District Judge

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     STIPULATION TO MODIFY CLASS CERT. DEADLINES; CASE NO. 5:22-CV-07557-PCP                    4
